                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   No.5:08-CV-496-D


WEENER PLASTICS, INC.,                     )
                                           )
                            Plaintiff,     )
                                           )
               v.                          )                       ORDER
                                           )
HNH PACKAGING, LLC., et aI.,               )
                                           )
                           Defendants.     )


       On April 9, 2009, Magistrate Judge Gates issued a Memorandum and Recommendation

("M&R") concerning two motions [D.E. 46]. First, Judge Gates recommended that the court grant

Weener Plastics, Inc.'s ("plaintiff' or "Weener") motion to remand the action to Wilson County

Superior Court. ld. at 14. In light of that recommendation, Judge Gates did not address HNH

Packaging, LLC ("HNH") and Continental Closures, LLC's ("Continental") (collectively

"defendants") motion to compel arbitration or Continental's motion for summary judgment. Id.

Defendants filed objections to Judge Gates' M&R [D.E. 52], and plaintiff responded [D.E. 53]. As

explained below, the court overrules defendants' objections, accepts the M&R, and remands the

action to Wilson County Superior Court. In light of this disposition, the court does not address

defendants' motion to compel arbitration or Continental's motion for summary judgment.

                                                  I.

       "The Federal Magistrates Act requires a district court to make a de novo determination of

those portions ofthe [magistrate judge's] report or specified proposed findings or recommendations

to which objection is made." Diamond v. Colonial Life & Accident Ins. Co., 416 F.3d 310,315 (4th

Cir. 2005) (alteration in original) (emphasis removed) (quotation omitted). Absent a timely

objection, "a district court need not conduct a de novo review, but instead must only satisfy itselfthat




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there is no clear error on the face of the record in order to accept the recommendation." Id.

(quotation omitted).

        Judge Gates described the facts in the M&R, and this court will not repeat them in this order.

Essentially, plaintiffcontends that the court first must address whether this court is the proper forum

before it may address defendants' motion to compel arbitration. Plaintiffthen argues that the forum­

selection clause in the Payment Agreement between Weener and HNH demonstrates that this court

is not the proper forum for HNH, that the defendants HNH and Continental could not meet the rule

of unanimity required to remove the action, and that this court must remand the action. See M&R

5-14.

        In their objections, defendants focus on the arbitration clause in the Manufacturing Services

Agreement between Weener and Continental and urge the court to order arbitration in accordance

with the Manufacturing Services Agreement. See Defs.' Objs. 2-5. In making this argument,

defendants contend that Judge Gates erred in analyzing the "rule of unanimity" associated with

multiple defendants who remove an action from state court to federal court pursuant to 28 U.S.C.

§ 1446(a). See,~, Russell Corp. v. Amer. Home Assurance Co., 264 F.3d 1040, 1046-47 (11th

Cir. 2001); Brodarv. McKinney, 378 F. Supp. 2d634, 636-38 (M.D.N.C. 2005); Creelanorev. Food

Lion, Inc., 797 F. Supp. 505,508 (B.D. Va. 1992). Specifically, Judge Gates concluded that the

forum-selection clause in the Payment Agreement between Weener and HNH waived HNH's right

to remove and thereby prevented HNH from lawfully removing the action. See M&R 9-14.

Accordingly, Judge Gates concluded that the unanimity ofconsent required for removal did not exist,

and the action must be remanded. Id. In opposition to this conclusion, defendants argue (1) that the

rule of unanimity is a technical defect that Weener failed to raise within thirty days of removal and

thereby waived; (2) that a court may not sua sponte raise a technical defect as a basis for remand; and


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(3) that Weener consented to this court'sjurisdiction through its affirmative acts and that remanding

the action would thwart the goal ofjudicial economy. See Defs.' Objs. 5-12.

       As for the first objection, defendants removed this action on September 30, 2008 [D.E. 1].

Plaintiff timely filed a motion to remand on October 20,2008 [D.E. 17, 19]. In plaintiffs motion

to remand, plaintiffargued that the forum-selection clause in the Payment Agreement between HNH

and Weener was mandatory and precluded removal [D.E. 20]. The court construes plaintiff s motion

and memorandum to include the argument that the forum-selection clause precluded HNH from

consenting to removal. Thus, the court overrules defendants' first objection.

       Next, defendants object that a court may not sua sponte raise a technical defect as a basis for

remand. Defs.' Objs. 7-9. Whatever the abstract merits ofthis proposition, the proposition does not

apply in this case. Judge Gates analyzed plaintiffs argument concerning the forum-selection clause.

As part of that analysis, Judge Gates was permitted to construe the forum-selection clause to apply

to HNH and to invoke principles associated with the rule ofunanimity. In so doing, Judge Gates did

not have to address plaintiffs broader argument that the forum-selection clause -      as a matter of

contract law -   also applied to Continental. Moreover, unlike the cases that the defendants cite,

Judge Gates did not recommend remanding the case before a motion to remand was filed or

remanding the case based on an untimely motion to remand. Thus, the court overrules defendants'

second objection.

       Finally, defendants argue that plaintiff consented to this court's jurisdiction through its

affirmative acts taken in this litigation and that it would thwart the goal of judicial economy to

remand the action to the Wilson County Superior Court. See Defs.' Objs. 9-14. The court has

reviewed the record in this case. Although plaintiff understandably has responded to the various

motions that defendants filed [D.E. 3, 11, 13,44], plaintiff has filed one motion - a timely motion


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to remand to the action to Wilson County Superior Court [D.E. 17, 19].           Plaintiff has not

affirmatively sought this court's intervention except to request remand. Moreover, the defect in

removal was patent, and the failure to enforce the mandatory forum-selection clause would prejudice

plaintiff. Finally, principles ofcomity andjudicial economy warrant remand. Accordingly, the court

overrules defendants' final objection.

                                                II.

       As explained above, the court overrules defendants' objections to the M&R and accepts the

M&R. Accordingly, in accordance with the M&R, the court GRANTS plaintiffs motion to remand

[D.E. 19]. In light of this disposition, the court DISMISSES without prejudice defendants' other

pending motions [D.E. 13, 44]. The action is REMANDED to Wilson County Superior Court.

       SO ORDERED. This J.1 day of August 2009.




                                                        JA    S C. DEVER III
                                                        United States District Judge




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